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  7
  8   Attorneys for Plaintiff Ox Labs Inc.
  9                           UNITED STATES DISTRICT COURT
 10                         CENTRAL DISTRICT OF CALIFORNIA
 11                                  WESTERN DIVISION
 12
 13    OX LABS INC., a California                   Case No. CV 18-5934-MWF(KSx)
       Corporation,
 14                                                 JOINT WITNESS LIST
 15                  Plaintiff,
                                                    Pretrial Conf: Nov. 18, 2019
 16                         vs.                     Trial: Dec. 3, 2019
 17    BITPAY, INC., a Delaware
 18
       Corporation, and Does 1-10,

 19                  Defendants.
 20
 21
 22          Pursuant to Federal Rule of Civil Procedure Rule 26(a)(3)(A), Central
 23   District Local Rule 16-5, and the Court’s Order re Jury Trial (Dkt 22), Plaintiff Ox
 24   Labs Inc. (“Ox Labs”) and Defendant BitPay, Inc. (“BitPay”), through their
 25   respective counsel, hereby submit this Joint Witness List for trial:
 26
 27
 28

      JOINT WITNESS LIST
      Case No. CV 18-5934-MWF(KSx)
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  1   I.     WITNESSES FOR PLAINTIFF’S CASE IN CHIEF
  2   *Indicates that witness will be called only if the need arises.
  3                                                                     Time       Time
  4    Witness’s Name, Address,                                          for        for
                                        Description of Testimony
           Phone Number                                                 Direct     Cross
  5                                                                     Exam       Exam
  6
      Akbar Thobhani                   Will testify regarding Ox
  7   c/o Leider + Ayala-Bass LLP      Labs’ ownership of and right
      One Market Plaza                 to possess the Bitcoins at
  8
      Spear Tower, 36th Floor          issue; the over-crediting
  9   San Francisco, CA 94105          error; investigation of the
      Tel: 415-215-8397                error; communications with
 10
                                       BitPay; value/price of
 11                                    Bitcoin, Bitcoin Cash, Bitcoin
                                       Gold, Bitcoin SV; Ox Labs’       2 hours   30 mins.
 12
                                       policies and procedures; Ox
 13                                    Labs’ accounting/account
                                       reconciliation practices; Ox
 14
                                       Labs’ loss; time spent in
 15                                    recovering property and
                                       average hourly wage.
 16
 17
      George Melika                    Will testify regarding Ox
 18
                                       Labs’ ownership of and right
 19   c/o Leider + Ayala-Bass LLP      to possess the Bitcoins at
      One Market Plaza                 issue; the over-crediting
 20   Spear Tower, 36th Floor          error; investigation of the
 21   San Francisco, CA 94105          error; communications with
      Tel: 415-215-8397                BitPay; value/price of
 22
                                       Bitcoin, Bitcoin Cash, Bitcoin   2 hours   30 mins.
 23                                    Gold, Bitcoin SV; Ox Labs’
 24                                    policies and procedures; Ox
                                       Labs’ accounting/account
 25                                    reconciliation practices; Ox
 26                                    Labs’ loss; time spent in
                                       recovering property and
 27                                    average hourly wage.
 28
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      JOINT WITNESS LIST
      Case No. CV 18-5934-MWF(KSx)
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  1   Anthony Gallippi              Will testify regarding the
  2                                 over-crediting error; BitPay’s
      c/o Morris, Manning &         discovery of the error;
  3   Martin, LLP                   communications with Ox
  4   1600 Atlanta Financial Center Labs; BitPay’s accounting/
                                                                         1 hour     1 hour
      3343 Peachtree Road N.E.      account reconciliation
  5   Atlanta, GA 30326             practices; amount of Bitcoin
  6                                 owned by BitPay.
  7
  8   Kirstie Getch                 Will testify regarding the
  9   c/o Morris, Manning &         over-crediting error; BitPay’s
      Martin, LLP                   discovery of the error;
 10
      1600 Atlanta Financial Center Communications with Ox
 11   3343 Peachtree Road N.E.      Labs; BitPay’s accounting/           1 hour     1 hour
      Atlanta, GA 30326             account reconciliation
 12                                 practices; amount of Bitcoin
 13                                 owned by BitPay.
 14
 15
      II.    WITNESSES FOR DEFENDANT’S DEFENSE
 16
      *Indicates that witness will be called only if the need arises.
 17
                                                                         Time       Time
 18     Witness’s Name, Phone                                             for        for
                                        Description of Testimony
 19
          Number, Address                                                Direct     Cross
                                                                         Exam       Exam
 20
      Anthony Gallippi              Will testify regarding the
 21
      c/o Morris, Manning &         over-crediting error; BitPay’s
 22   Martin, LLP                   discovery of the error;
 23   1600 Atlanta Financial Center communications with Ox
      3343 Peachtree Road N.E.      Labs; BitPay’s unconditional
 24   Atlanta, GA 30326             payment to Ox Labs for              1.5 hours   1 hour
                                    amount realized from the
 25
                                    error; BitPay’s accounting/
 26                                 account reconciliation
                                    practices; BitPay’s business
 27
                                    processes, including trading
 28                                 practices and different
                                                -3-
      JOINT WITNESS LIST
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  1                                  accounts; meaning and
  2                                  purpose of various accounts,
                                     including trading accounts,
  3                                  that may contain bitcoin,
  4                                  disconnection of the credit
                                     error to any ongoing bitcoin
  5                                  holdings or acquisitions by
  6                                  BitPay.
  7
  8   Kirstie Getch                 Will testify regarding the
      c/o Morris, Manning &         over-crediting error; BitPay’s
  9
      Martin, LLP                   discovery of the error;
 10   1600 Atlanta Financial Center Communications with Ox
      3343 Peachtree Road N.E.      Labs; BitPay’s unconditional
 11
      Atlanta, GA 30326             payment to Ox Labs for the
 12                                 value realized from the error;
                                    BitPay’s accounting/ account
 13
                                    reconciliation practices;
 14                                 BitPay’s business processes,
                                    including trading practices      1 hour   1 hour
 15
                                    and different accounts;
 16                                 meaning and purpose of
                                    various accounts, including
 17
                                    trading accounts, that may
 18                                 contain bitcoin, disconnection
                                    of the credit error to any
 19
                                    ongoing bitcoin holdings or
 20                                 acquisitions by BitPay.
 21
 22   Akbar Thobhani                 Will testify regarding Ox
 23   c/o Leider + Ayala-Bass LLP    Labs and/or SFOX policies
      One Market Plaza               and procedures to determine
 24                                  the accuracy of transactions
      Spear Tower, 36th Floor
 25                                  on the SFOX platform and        1 hour   30 mins.
      San Francisco, CA 94105
      Tel: 415-215-8397              cause of how the error
 26                                  occurred in the first place,
 27                                  source of the erroneous
                                     bitcoin at issue in the
 28
                                              -4-
      JOINT WITNESS LIST
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  1                                  erroneous credit, and
  2                                  investigation of the erroneous
                                     credit, and SFOX’s own
  3                                  trading.
  4
  5   George Melika                  Will testify regarding Ox
  6                                  Labs and/or SFOX policies
      c/o Leider + Ayala-Bass LLP    and procedures to determine
  7   One Market Plaza               the accuracy of transactions
  8
      Spear Tower, 36th Floor        on the SFOX platform and
      San Francisco, CA 94105        cause of how the error
  9   Tel: 415-215-8397              occurred in the first place,
 10                                  source of the erroneous          1 hour   30 mins.
                                     bitcoin at issue in the
 11
                                     erroneous credit, and
 12                                  investigation of the erroneous
                                     credit, and SFOX’s own
 13
                                     trading.
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      JOINT WITNESS LIST
      Case No. CV 18-5934-MWF(KSx)
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  1                           III.   CERTIFICATE OF SERVICE
  2
             I certify that counsel of record, listed below, is being served on October 28,
  3
      2019, with a copy of this document through the CM/ECF Filing System as identified
  4
      on the Notice of Electronic Filing dated October 28, 2019.
  5

  6                                                                /s/ Anahit Samarjian
                                                                   Anahit Samarjian
  7
  8
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 13
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 15
      MORRIS, MANNING & MARTIN, LLP
 16   1600 Atlanta Financial Center
      3343 Peachtree Road N.E.
 17
      Atlanta, Georgia 30326
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      JOINT WITNESS LIST
      Case No. CV 18-5934-MWF(KSx)
